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IN THE UNITED STATES DISTRICT COURT USJUL-
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WESTERN DIVISION mus- '
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FEDERAL EXPRESS CORPORATION,
Plaintiff,

v. Nb. 01»2503 Ma/P
ACCU-SORT SYSTEMS, INC.:

Defendant.

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ORDER DENYING MOTION FOR SU'M'MARY JU'DGMENT ON ALLEGED
MISAPPROPRIATION OF CALIBRATION TRADE SECRET

 

Before the court is Defendant Accu-Sort Systems, Inc.’s
(“Accu-Sort”) motion for summary judgment on FedEx's claim that
Accu-Sort misappropriated FedEx's calibration trade secret, filed
May ll, 2005. Plaintiff Federal Express Corporation (“FedEx”)
filed a response on May 24,\2005, to which Accu-Sort replied on
June 8, 2005. For the following reasons, the motion is DENIED.
I. Background

On March 31, 2005, the court entered an order denying Accu-
Sort's motion for summary judgment on the ground that FedEx had
failed to offer evidence establishing the existence of a valid
trade secret. Accu-Sort moves again for summary judgment on that

issue, arguing that the Information Exchange Agreement (“IEA”)

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with Ru!e 58 and/or 79(3) FRCP on ___']__2__6§

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between Adaptive Optics Associates (“AOA”) and Accu-Sort
conclusively establishes that FedEx failed adequately to protect
the calibration technology at issue in this lawsuit. Thus, Accu-
Sort contends, the calibration technology cannot qualify as a trade
secret under Tennessee common law, and FedEx's claim for
misappropriation must be dismissed.

AOA is a competitor of Accu-Sort, engaged in a similar
business. After AOA had been retained by FedEx to assist in
developing FedEx's Mass Scanning and Dimensioning System (“MSDS”),
it encountered difficulty using Accu-Sort's bar code readers.l As
a result, Jim Odenthal of Accu-Sort came to AOA's facility to
assist AOA personnel. Because the parties would need to exchange
confidential information, they entered into the IEA at issue in
this motion. The IEA contains the following provision:

“Proprietary Information” means any information,

knowledge or data received by the Receiving Party from

the Disclosing Party in furtherance of or pursuant to the

Program, which is clearly marked with.proprietary legends

by the Disclosing Party at the time of disclosure and, if

the information is orally or visually disclosed, which is

reduced to writing and clearly marked with proprietary

legends within thirty (30) days of initial disclosure.
IEA. j l(c). Accu-Sort avers that the calibration technology

exchanged between AOA and.Accu~Sort was not marked with proprietary

legends as required by the IEA and that FedEX has not produced

 

Accu- Sort was originally retained by FedEx to develop the MSDS. Due
to circumstances outlined in prior orders, AOA replaced Accu- Sort, and Accu-
Sort remained on the project solely as a provider of goods.

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evidence showing that the material was so marked.2 Consequently,
Accu-Sort argues, the calibration technology was disclosed without
the requisite safeguards of confidentiality, and FedEx cannot now
claim it as a trade secret.

II. Legal Standard

The party moving for summary judgment “bears the burden of
clearly‘ and convincingly establishing the nonexistence of any
genuine issue of material fact, and the evidence as well as all
inferences drawn therefrom must be read in a light most favorable
to the party opposing the motion.” Kochins v. Linden-Alimak, Inc.,
799 F.2d 1128, 1133 (6th Cir. 1986). The moving party can meet
this burden by pointing out to the court that the respondents,
having had sufficient opportunity for discovery, have no evidence
to support an essential element of their case. _§§ Street v. J.C.
Bradford & Co., 886 F.2d 1472, 1479 (Gth Cir. 1989).

When confronted with a properly supported motion for summary
judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial
exists if the evidence is such that a reasonable jury could return
a verdict for the nonmoving party. See Anderson v. Libertv Lobbv.
lng;, 477 U.S. 242, 248 (1986). The party opposing the motion must

“do more than simply show that there is some metaphysical doubt as

 

zln its response, FedEx states that it “can neither admit nor deny this
allegation since it involves communications to which FedEx was not a party."
(Opp. Memo. at 4.)

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to the material facts£’ Matsushita Elec. Indus. Co., Ltd. v.
Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party
may not oppose a properly supported summary judgment motion by mere
reliance on the pleadings. See Celotex Coro. v. Catrett, 477 U.S.
317, 324 (1986). Instead, the nonmoving party must present
“concrete evidence supporting its claims.” Cloverdale Ecuip. Co.
v. Simon Aerials, Inc., 869 F.2d 934, 937 (6th Cir. 1989). The
district court does not have the duty to search the record for such
evidence. See InterRoVal Corp. v. Sponseller, 889 F.2d 108, 110-11
(6th Cir. 1989). Nonmovants have the duty to point out specific
evidence in the record that would be sufficient to justify a jury
decision in their favor. gee ig;
III. Analysis

Under Tennessee common law, a trade secret is “any formula,
process, pattern, device or compilation of information that is used
in one’s business and which gives him an opportunity to obtain an
advantage over competitors who do not use it.” §igkgry_§pegial;i§§*
Inc. v. B & L Labs, 592 S.W.Zd 583, 586-87 (Tenn. Ct. App. 1979).

Factors to consider in determining whether information
constitutes a trade secret are (1) the extent to which the
information is known outside the business; (2) the extent to which
it is known by employees and others involved in the business; (3)
the extent of measures taken by the business to guard the secrecy

`of the information; (4) the value of the information to the

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business and to its competitors; (5) the amount of money or effort
expended by the business in developing the information and (6) the
ease or difficulty with which the information could be properly
acquired or duplicated by others. Venture Exoress, Inc. v. Zillv,
973 S.W.Zd 602, 606 (Tenn. Ct. App. 1998). The misappropriation of
a trade secret requires the communication of that secret to a party
in a position of trust or confidence and the subsequent use of that
secret to the plaintiff's detriment. gee id at 586; Wright Medical
Technoloqy. Inc. v. Grisoni, 135 S.W.Bd 561, 588 (Tenn. Ct. App.
2001); TGC Corp. v. HTM Snorts, B.V., 896 F.Supp. 751, 757 (E.D.
Tenn. 1995). Accu-Sort claims that AOA's disclosure of FedEx's
calibration technology without properly designating it as
“proprietary information” under the IEA eliminates any trade secret
protection FedEx may have in that information and proves that Accu-
Sort did not receive the information in a position of trust and

confidence.

In its prior order on summary judgment, the court concluded
that FedEx had offered “sufficient evidence to demonstrate the
proprietary nature of the MSDS information and the measures taken
to guard its secrecy.”3 (Order at 17.) That AOA may have disclosed
FedEx information without properly designating it as confidential
does not negate that conclusion. AOA, not FedEx, disclosed the

allegedly proprietary information, when AOA itself had a

 

3 The calibration technology at issue in this motion was associated with
FedEx's Mst. (see Accu-sort's Memo. at 4; Jankevics Aff. q 1.)

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contractual obligation of confidentiality as to the calibration

technology.

More importantly, Accu-Sort was also contractually obligated
to keep confidential any information it received from FedEx.
Before AOA disclosed the calibration technology to.Accu-Sort, Accu-
Sort had entered directly into a Consulting Agreement and a Mutual
Non-Disclosure Agreement with FedEx. (Order at 25-32.) The

Consulting Agreement sets forth the following obligation:

Consultant {Accu-Sort] acknowledges that certain of

[FedEx's] proprietary valuable, confidential and
proprietary information may come into [Accu-Sort's]
possession. Accordingly, [Accu-Sort] agrees that all

such information furnished to [Accu»Sort] by [FedEx]
shall remain the exclusive property' of [FedEx}, and
agrees to hold all information it obtains from or about
[FedEx] in the strictest confidence.

(Consulting Agreement § 10 (emphasis added).) Further, the Mutual

Non-Disclosure Agreement provides as follows:

Each.party acknowledges that all material and information
which has or will come into its possession or knowledge
after Accu-Sort [sic] in connection with business
discussions, conferences or other activities in pursuit
of a business relationship between [FedEx] and Accu-Sort

(i) is proprietary to the disclosing party ... (ii) is
secret, confidential and unique, and constitutes the
exclusive property of the disclosing party .... [E]ach

party agrees to hold the other's Confidential Information
in strictest confidence and not to make use of it other
than for the benefit of the other party.

(Mutual Non-Disclosure Agreement § 1 (emphasis added).)

There is evidence that both of these provisions were in effect

when Accu-Sort received information from AOA about FedEx's

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calibration technology.4 (Order at 27, 31.) Significantlyy neither
of the provisions attempts to limit or designate which FedEx
information Accu-Sort is to treat as confidential. Consequently,
FedEx has offered sufficient evidence that Accu-Sort was obligated
to keep the calibration technology confidential regardless of
whether that information was properly designated for protection
under the IEA. Because there is evidence that Accu-Sort remained
under independent obligations of confidentiality to FedEx when
Accu-Sort received calibration technology from AOA, a reasonable
jury could conclude that FedEx took reasonable measures to
safeguard the technology that came into Accu-Sort’s possession and

that the technology qualifies as a common-law trade secret.
IV. Conclusion

For the foregoing reasons, Accu~Sort’s motion is DENIED.

So ordered this sq<~ day of July 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

4 Accu~Sort claims that the Consulting Agreement expired on January 31,

1996, before the calibration technology was disclosed under the IEA. The
substance of this claim is the subject of a separate motion for summary
judgment. Even if Accu-Sort is correct, the Mutual Non-Disclosure Agreement
alone is sufficient evidence for purposes of this motion to overcome summary
judgment.

   

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This notice confirms a copy of the document docketed as number 604 in
case 2:01-CV-02503 Was distributed by fax, mail, or direct printing on
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